Case 3:20-cr-00046-CHB-CHL Document 43 Filed 10/13/21 Page 1 of 4 PageID #: 117




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

   UNITED STATES OF AMERICA,                          )
                                                      )
             Plaintiff,                               )  Criminal Action No. 3:20-CR-046-CHB
                                                      )
   v.                                                 )
                                                      )        ORDER FOLLOWING
   JEFFRIE CORN,                                      )  ACCEPTANCE OF REPORT AND
                                                      ) RECOMMENDATION CONCERNING
             Defendant.                               )   PLEA OF GUILTY AND ORDER
                                                      ) SETTING SENTENCING HEARING


                                         ***    ***    ***   ***
        The Court having adopted Magistrate Judge Regina S. Edwards’ Report and

 Recommendation Concerning Plea of Guilty as to Defendant Jeffrie Corn [R. 42], and in order to

 proceed under the Sentencing Reform Act of 1984 (Pub. L. 98–473, Title II, c. 2, Sections 211-

 39), 18 U.S.C. Sections 3551–59,

        IT IS HEREBY ORDERED as follows:

        1.        Sentencing proceedings previously set in this case for Thursday January, 6,

 2022, at the hour of 1:00 p.m. [R. 42], before the Honorable Claria Horn Boom, United States

 District Judge, at the Gene Snyder U.S. Courthouse in Louisville, Kentucky, remains as

 scheduled.

        2.        The Defendant and defense counsel shall meet with the Probation Officer for an

 interview promptly, and in no event later than ten (10) days from the date of this Order. It

 shall be the responsibility of defense counsel to contact the Probation Officer to ascertain the

 time and place of the interview, unless defense counsel’s attendance is waived.




                                                 -1-
Case 3:20-cr-00046-CHB-CHL Document 43 Filed 10/13/21 Page 2 of 4 PageID #: 118




        3.      Not less than thirty-five (35) days prior to the date set for sentencing, the

 Probation Officer shall provide a copy of the PSR to the Defendant and to counsel for both the

 Defendant and the United States. Within fourteen (14) days thereafter, counsel shall contact

 the Probation Office and opposing counsel to notify the parties as to whether or not there

 are any objections to any material information, sentencing classifications, sentencing guideline

 ranges, and policy statements contained in or omitted from the PSR. Any objections shall be in

 writing. Notice to the Probation Office and opposing counsel must be given even if no

 objection exists.

        4.      After receiving counsel’s notice of whether there are (or are not) objections, the

 Probation Officer shall conduct any further investigation and make any revisions to the PSR that

 may be necessary. The Probation Officer may require counsel for both parties to meet with the

 officer to discuss unresolved factual and legal issues.

        5.      Not less than ten (10) days prior to the date of the sentencing hearing, the

 Probation Officer shall submit the PSR to the sentencing Judge. The PSR shall be accompanied

 by the written objections of counsel, and by an addendum setting forth any objections counsel

 may have made that have not been resolved, together with the officer's comments thereon. The

 Probation Officer shall provide a copy of any addendum to the PSR, including any revisions

 thereof, to the Defendant and to counsel for the Defendant and the United States.

        6.      Not less than twenty (20) days prior to the sentencing hearing, the parties

 shall communicate with each other to discuss the scope of the sentencing hearing and make

 certain disclosures. Each party shall disclose to the other if it intends to argue for a non-

 guideline sentence. The parties shall disclose whether they intend to call witnesses at the

 hearing and if so, the nature of the testimony shall be revealed. The parties shall disclose



                                                 -2-
Case 3:20-cr-00046-CHB-CHL Document 43 Filed 10/13/21 Page 3 of 4 PageID #: 119




 the identity of any expert witness and exchange a written summary of the witness’s

 opinions, the bases and reasons for the opinions, and the witness’s qualifications.

        For any sentencing in which testimony is expected, the parties shall estimate the

 length of time required for the sentencing hearing and communicate the same to Renee

 Koch, Case Manager for Judge Boom.

        It is the Court’s policy that all letters of support be filed in the public record.

 Accordingly, any letters of support that the parties intend to present for the Court’s

 consideration at sentencing shall have personal identifiers (e.g., home addresses, social

 security numbers, or financial account numbers) redacted.

        7.      Not less than ten (10) days prior to the sentencing hearing, the parties shall

 file a Sentencing Memorandum in support of their respective positions on any unresolved

 objections to the PSR, including any objections to the calculation of the advisory sentencing

 guidelines contained therein. Furthermore, in the event a non-guideline sentence is

 advocated, the Sentencing Memorandum shall address the factors of 18 U.S.C. § 3553(a).

        8.      Except with regard to any objection made under Paragraph 7 that has not been

 resolved, the PSR may be accepted by the Court as accurate. The Court, for good cause shown,

 may allow new objections to be raised at any time before the imposition of sentence. In

 resolving disputed issues of fact, the Court may consider any reliable information presented by

 the Probation Officer, the Defendant, or the United States.

        9.      The time set forth in this Order may be modified by the Court for good cause

 shown, except that the ten (10) day period provided for disclosure of the PSR pursuant to 18

 U.S.C. § 3552(d) may be diminished only with the consent of the Defendant.




                                                -3-
Case 3:20-cr-00046-CHB-CHL Document 43 Filed 10/13/21 Page 4 of 4 PageID #: 120




        10.       Nothing in this Order requires the disclosure of any portions of the PSR that are

 not disclosable under Fed. R. Crim. P. 32.

        11.       The PSR shall be deemed to have been disclosed:

                  (a)    When the PSR is physically delivered to counsel;

                  (b)    One day after the PSR’s availability is orally communicated to

                         counsel; or

                  (c)    Three (3) days after notice of its availability is mailed to counsel, or

                         the date of availability reflected in the notice, whichever is later.

        12.       It shall be the responsibility of counsel for the Defendant to disclose the PSR to

 the Defendant.

        13.       The general conditions of probation as set forth in Probation Form 7A shall apply

 to the Defendant if placed on probation or supervised release, and all persons placed on

 probation or supervised release shall submit to photographs by the Probation Officer as a

 condition of probation or supervised release.

         This the 12th day of October, 2021.




 cc:    Counsel of Record
        United States Probation




                                                  -4-
